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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                 No. 1:20-cr-183

             vs.                               Hon. Robert J. Jonker
                                               Chief United States District Judge

KALEB JAMES FRANKS,

                  Defendant.
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              AMENDED MOTION TO ADJOURN SENTENCING

       The government requests the sentencing in this matter be adjourned until

after the retrial of the remaining co-defendants. In support, the government states:

       1.    In February, 2022, Franks pled guilty to conspiring with (among

others) Adam Dean Fox and Barry Gordon Croft, Jr. to kidnap the Governor of

Michigan. The Court has scheduled his sentencing for June 8, 2022.

       2.    The trial of co-defendants Fox and Croft concluded in April 2022 with a

deadlocked jury. Franks testified at that trial, and is expected to testify at the

retrial.

       3.    Whether to adjourn a sentencing hearing is left to the sound discretion

of the trial court. United States v. Caro-Perez, 313 F. App'x 221, 224 n.4 (11th Cir.

2009) (quoting United States v. Garcia, 405 F.3d 1260, 1275 (11th Cir. 2005) (a

district court may continue a sentencing hearing if the district court determines
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that the factual circumstances warrant a continuance); see also United States v.

Dottery, 259 F. App'x 812, 813 (6th Cir. 2008).

      4.     The government anticipates filing a motion under USSG § 5K1.1 to

recognize Franks’ substantial assistance. Postponing his sentencing until after the

retrial would allow the Court to consider the totality of his assistance in one

proceeding, rather than dividing it between a § 5K1.1 motion and a separate motion

under Fed. R. Crim. P. 35(b).

      5.     Adjourning the sentencing would also postpone Franks’ transportation

to a BOP facility. As the Court will recall, unexpected COVID travel restrictions

delayed Croft’s appearance in this district until several months after his arrest.

Leaving Franks in-district would minimize the chance of similar issues delaying the

proceedings or preventing Franks’ appearance as a witness.

      6.     Defendant Franks has no objection to this request.

      WHEREFORE, the government requests the Court adjourn Franks’

sentencing until after the retrial of defendants Fox and Croft.

                                        Respectfully submitted,

                                        DONALD DANIELS
                                        Assistant United States Attorney
                                        Acting under Authority Conferred by
                                        28 U.S.C. § 515

Dated: May 9, 2022                        /s/ Nils R. Kessler
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